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TDPetrowski LLC. Invoice No. PR-2019-September
4010 Deep Valley Drive

Dallas, Texas 75244

(214) 796-7855

EIN: XX-XXXXXXX

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Customer

Case No. Civil Case No. 12-2039 Date 227/19

Address _300 Recinto Sur Street Order No. ee
City _San Juan State: PR ZIP 00901 Rep oo —_
Phone FOB ee
Hours i Description Unit Price | TOTAL i
i 5.7  iCalls, teleconferences, emails, review orders and Methodologies $150.00 $855.00 f
i and status meetings i
16.5 Contact other agencies and compile promotion policies. $150.00 $2475.00
i Research/review materials related to promotions, begin
E draft of promotions whitepaper.
i
i i i
i
i
SubTotal |S $3,330.00
Shipping & Handling i
Taxes State i

TOTAL $3,330.00
Signature: Lerene ) Yh Lene" :
et ; Office Use Only

 

 

 
